                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: George H Gruber, Jr

                                                           Case No.: 1-17-05295 HWV

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Land Home
 Court Claim Number:             13
 Last Four of Loan Number:       3972
 Property Address if applicable: 7018 Brookdale Dr

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $3,961.69
 b.      Prepetition arrearages paid by the trustee:                        $3,961.69
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $13,280.25
 f.       Postpetition arrearage paid by the trustee:                       $13,280.25
 g.       Total b, d, and f:                                                $17,241.94

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




Case 1:17-bk-05295-HWV           Doc 101     Filed 03/25/25     Entered 03/25/25 07:07:28           Desc
                                             Page 1 of 7
To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: March 25, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




Case 1:17-bk-05295-HWV        Doc 101     Filed 03/25/25    Entered 03/25/25 07:07:28      Desc
                                          Page 2 of 7
                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: George H Gruber, Jr

                                                           Case No.: 1-17-05295 HWV

                                                           Chapter 13
                    Debtor(s)

                                  CERTIFICATE OF SERVICE

 I certify that I am more than 18 years of age and that on March 25, 2025, I served a copy of this
 Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
 PA, unless served electronically.

  Served Electronically
  Robert E Chernicoff, Esquire
  2320 North Second St
  PO Box 60457
  Harrisburg PA 17106

  Served by First Class Mail
  Land Home Financial Services
  c/o Weinstein and Riley,PA
  1415 Western Ave Suite 700
  Seattle WA 98101-2051

  George H Gruber, Jr
  7018 Brookdale Dr
  Harrisburg PA 17111


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: March 25, 2025                                  /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 1:17-bk-05295-HWV           Doc 101    Filed 03/25/25      Entered 03/25/25 07:07:28     Desc
                                            Page 3 of 7
                                            Disbursements for Claim
Case: 17-05295          GEORGE H GRUBER, JR.
         LAND HOME FINANCIAL SERVICES, INC
                                                                                     Sequence: 24
         PO BOX 25164
                                                                                        Modify:
                                                                                    Filed Date:
         SANTA ANA, CA 92799-
                                                                                    Hold Code: D
 Acct No: 3972/POST ARREARS/7018 BROOKDALE DR
         FORBEARANCE ARREARS 3RD AP (AFTER DIRECT PAYMENTS) AMENDED POC 10/19/22


                                              Debt:            $16,677.89        Interest Paid:                $0.00
        Amt Sched:                $0.00                                            Accrued Int:                 $0.00
         Amt Due:       $0.00                  Paid:           $13,280.25         Balance Due:              $3,397.64

Claim name                           Type       Date            Check #       Principal    Interest       Total Reconciled
                                                                                                DisbDescrp
 5210        LAND HOME FINANCIAL SERVICES, INC
521-0 LAND HOME FINANCIAL SERVICES, INC
                                      C      05/12/2023                 0     ($921.09)      $0.00       ($921.09) 08/30/2024
                                                                                                  Cred Rfd Chk #: 2025328957
521-0 RIGHT PATH SERVICING                   04/18/2023         2024178        $921.09       $0.00       $921.09 04/28/2023


521-0 RIGHT PATH SERVICING                   03/15/2023         2023139        $539.52       $0.00       $539.52 03/24/2023


521-0 RIGHT PATH SERVICING                   02/15/2023         2022143        $695.92       $0.00       $695.92 02/24/2023


521-0 RIGHT PATH SERVICING                   01/18/2023         2021139        $977.08       $0.00       $977.08 01/26/2023


521-0 RIGHT PATH SERVICING                   12/13/2022         2020147        $987.43       $0.00       $987.43 12/22/2022


521-0 RIGHT PATH SERVICING                   11/16/2022         2019187        $729.47       $0.00       $729.47 12/09/2022


521-0 RIGHT PATH SERVICING                   10/18/2022         2018162      $1,275.36       $0.00      $1,275.36 10/27/2022


521-0 COMMUNITY LOAN SERVICING LLC V         10/06/2022         2013579       ($353.35)      $0.00       ($353.35) 10/06/2022


521-0 RIGHT PATH SERVICING                   09/13/2022         2017091        $540.06       $0.00       $540.06 09/22/2022


521-0 COMMUNITY LOAN SERVICING LLC           08/17/2022         2015583        $977.21       $0.00        $977.21 08/30/2022


521-0 COMMUNITY LOAN SERVICING LLC           06/14/2022         2013579        $353.35       $0.00       $353.35 10/06/2022


521-0 COMMUNITY LOAN SERVICING LLC           05/17/2022         2012512        $679.90       $0.00       $679.90 05/27/2022


521-0 COMMUNITY LOAN SERVICING LLC           04/12/2022         2011460        $460.85       $0.00       $460.85 04/26/2022



         Case 1:17-bk-05295-HWV       Doc 101          Filed 03/25/25       Entered 03/25/25 07:07:28        Desc          1
                                                       Page 4 of 7
Claim name                           Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                          DisbDescrp
521-0 COMMUNITY LOAN SERVICING LLC          03/16/2022       2010445      $506.50      $0.00     $506.50 03/29/2022


521-0 COMMUNITY LOAN SERVICING LLC          02/16/2022       2009472      $253.25     $0.00      $253.25 02/28/2022


521-0 COMMUNITY LOAN SERVICING LLC          01/19/2022       2008465      $460.85     $0.00      $460.85 01/27/2022


521-0 COMMUNITY LOAN SERVICING LLC          12/15/2021       2007452      $506.50     $0.00     $506.50 12/24/2021


521-0 COMMUNITY LOAN SERVICING LLC          11/16/2021       2006426      $759.75     $0.00      $759.75 11/29/2021


521-0 COMMUNITY LOAN SERVICING LLC          10/14/2021       2005380      $521.48     $0.00      $521.48 10/27/2021


521-0 COMMUNITY LOAN SERVICING LLC          09/14/2021       2004376      $260.74     $0.00     $260.74 10/04/2021


521-0 COMMUNITY LOAN SERVICING LLC          08/18/2021       2003326      $782.22     $0.00      $782.22 09/01/2021


521-0 COMMUNITY LOAN SERVICING LLC          07/14/2021       2002292      $521.48     $0.00      $521.48 07/23/2021


521-0 COMMUNITY LOAN SERVICING LLC          06/16/2021       2001318      $521.48     $0.00      $521.48 06/24/2021


521-0 COMMUNITY LOAN SERVICING LLC          05/18/2021       2000294      $323.20     $0.00     $323.20 05/26/2021


                                                          Sub-totals: $13,280.25      $0.00 $13,280.25

                                                         Grand Total: $13,280.25      $0.00




        Case 1:17-bk-05295-HWV        Doc 101     Filed 03/25/25       Entered 03/25/25 07:07:28     Desc         2
                                                  Page 5 of 7
                                              Disbursements for Claim
Case: 17-05295          GEORGE H GRUBER, JR.
         LAND HOME FINANCIAL SERVICES, INC
                                                                                       Sequence: 24
         PO BOX 25164
                                                                                          Modify:
                                                                                      Filed Date: 3/9/2018 12:00:00AM
         SANTA ANA, CA 92799-
                                                                                      Hold Code: D
 Acct No: 3972/PRE ARREARS/7018 BROOKDALE DR



                                                Debt:            $4,975.26         Interest Paid:                $0.00
        Amt Sched:              $230,696.00                                          Accrued Int:                 $0.00
         Amt Due:       $0.00                    Paid:           $3,961.69          Balance Due:              $1,013.57

Claim name                             Type      Date             Check #       Principal    Interest       Total Reconciled
                                                                                                  DisbDescrp
 5200        LAND HOME FINANCIAL SERVICES, INC
520-0 LAND HOME FINANCIAL SERVICES, INC
                                      C        05/12/2023                 0     ($274.78)      $0.00       ($274.78) 08/30/2024
                                                                                                    Cred Rfd Chk #: 2025328957
520-0 RIGHT PATH SERVICING                     04/18/2023         2024178        $274.78       $0.00       $274.78 04/28/2023


520-0 RIGHT PATH SERVICING                     03/15/2023         2023139        $160.95       $0.00       $160.95 03/24/2023


520-0 RIGHT PATH SERVICING                     02/15/2023         2022143        $207.59       $0.00       $207.59 02/24/2023


520-0 RIGHT PATH SERVICING                     01/18/2023         2021139        $227.34       $0.00       $227.34 01/26/2023


520-0 RIGHT PATH SERVICING                     10/18/2022         2018162        $378.16       $0.00       $378.16 10/27/2022


520-0 COMMUNITY LOAN SERVICING LLC V           10/06/2022         2013579        ($46.28)      $0.00        ($46.28) 10/06/2022


520-0 RIGHT PATH SERVICING                     09/13/2022         2017091        $194.39       $0.00       $194.39 09/22/2022


520-0 COMMUNITY LOAN SERVICING LLC             08/17/2022         2015583        $351.75       $0.00       $351.75 08/30/2022


520-0 COMMUNITY LOAN SERVICING LLC             06/14/2022         2013579         $46.28       $0.00        $46.28 10/06/2022


520-0 COMMUNITY LOAN SERVICING LLC             03/17/2021         1227903        $152.70       $0.00       $152.70 03/24/2021


520-0 COMMUNITY LOAN SERVICING LLC             02/17/2021         1226888        $152.69       $0.00       $152.69 02/25/2021


520-0 COMMUNITY LOAN SERVICING LLC             01/19/2021         1225879        $229.04       $0.00       $229.04 01/27/2021


520-0 COMMUNITY LOAN SERVICING LLC             12/10/2020         1224076        $152.69       $0.00       $152.69 12/17/2020



         Case 1:17-bk-05295-HWV          Doc 101         Filed 03/25/25       Entered 03/25/25 07:07:28        Desc          1
                                                         Page 6 of 7
Claim name                           Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                          DisbDescrp
520-0 COMMUNITY LOAN SERVICING LLC          11/03/2020       1223209       $76.34      $0.00      $76.34 11/12/2020


520-0 BAYVIEW LOAN SERVICING                10/15/2020       1222188       $75.51     $0.00        $75.51 10/22/2020


520-0 BAYVIEW LOAN SERVICING                09/17/2020       1221135      $226.53     $0.00      $226.53 09/24/2020


520-0 BAYVIEW LOAN SERVICING                08/12/2020       1220101      $151.01     $0.00      $151.01 08/19/2020


520-0 BAYVIEW LOAN SERVICING                07/07/2020       1219024      $151.02     $0.00      $151.02 07/14/2020


520-0 BAYVIEW LOAN SERVICING                06/02/2020       1218038      $151.02     $0.00      $151.02 06/10/2020


520-0 BAYVIEW LOAN SERVICING                05/06/2020       1217098       $75.51     $0.00        $75.51 05/14/2020


520-0 BAYVIEW LOAN SERVICING                04/14/2020       1215897      $234.81     $0.00      $234.81 04/28/2020


520-0 BAYVIEW LOAN SERVICING                03/12/2020       1214582      $156.56     $0.00      $156.56 03/20/2020


520-0 BAYVIEW LOAN SERVICING                02/13/2020       1213267      $156.54     $0.00     $156.54 02/21/2020


520-0 BAYVIEW LOAN SERVICING                01/16/2020       1211904      $156.56     $0.00      $156.56 01/30/2020


520-0 BAYVIEW LOAN SERVICING                12/12/2019       1210507      $142.98     $0.00      $142.98 12/24/2019


                                                          Sub-totals: $3,961.69       $0.00   $3,961.69

                                                         Grand Total: $3,961.69       $0.00




        Case 1:17-bk-05295-HWV        Doc 101     Filed 03/25/25       Entered 03/25/25 07:07:28     Desc         2
                                                  Page 7 of 7
